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 8                              UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                     OAKLAND DIVISION
11
     WHATSAPP INC., a Delaware corporation,      Case No. 4:19-cv-07123-PJH
12   and FACEBOOK, INC., a Delaware
     corporation,                                DEFENDANTS NSO GROUP
13                                               TECHNOLOGIES LIMITED
                 Plaintiffs,                     AND Q CYBER TECHNOLOGIES
14                                               LIMITED’S ADMINISTRATIVE
           v.                                    MOTION TO CONSIDER WHETHER
15                                               ANOTHER PARTY’S MATERIAL
     NSO GROUP TECHNOLOGIES LIMITED              SHOULD BE SEALED
16   and Q CYBER TECHNOLOGIES LIMITED,
17               Defendants.
                                                 Action Filed: 10/29/2019
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28   DEFENDANTS’ ADMINISTRATIVE                                      Case No. 4:19-cv-07123-PJH
     MOTION TO CONSIDER WHETHER
     ANOTHER PARTY’S MATERIAL SHOULD
     BE SEALED
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 1   TO THE COURT AND PLAINTIFFS AND THEIR COUNSEL OF RECORD:
 2            PLEASE TAKE NOTICE that pursuant to Civil Local Rules 7-11 and 79-5(f), Defendants

 3   NSO Group Technologies Limited and Q Cyber Technologies Limited (“Defendants”) move the

 4   Court to consider whether certain portions of and exhibits attached to the parties’ Joint Letter Brief

 5   Regarding Plaintiffs’ Communications with Law Enforcement (the “Joint Letter Brief”) should be

 6   sealed. Unredacted versions of the Joint Letter Brief and the Exhibits to the Joint Letter Brief are

 7   attached as Exhibits A and 1, 2, 3, and 4 to the Declaration of Aaron S. Craig filed currently

 8   herewith.

 9            The Joint Letter Brief references and describes documents produced by or referencing

10   materials designated by Plaintiffs WhatsApp LLC, f/k/a WhatsApp Inc. (“WhatsApp”), and Meta

11   Platforms, Inc., f/k/a Facebook, Inc. (“Facebook” and, collectively, “Plaintiffs”) that Plaintiffs

12   have designated as “Highly Confidential - Attorney’s Eyes Only” under the Stipulated Protective

13   Order (Dkt. No. 132). Defendants have attached these documents as Exhibits 1, 2, and 3 to the

14   Joint Letter Brief. Defendants move the Court to consider whether Exhibits 1, 2, and the yellow

15   highlighted portions of Exhibit 3 at pages 5 (line 27-28), 6 (lines 1-18), 9 (lines 16-27), 12 (lines

16   3-17), and 14 (lines 1-13) to the Joint Letter Brief, and the yellow highlighted references to those
                                                             1
17   exhibits in the Joint Letter Brief, should be sealed.

18            Defendants take no position as to whether these materials or information derived from these

19   materials satisfy the requirements for sealing.             They reserve the right to challenge any

20   confidentiality designations and to oppose any statement by Plaintiffs in accordance with Civil

21   Local Rule 79-5(f)(4).

22            Defendants respectfully request that the Court permit the unredacted Joint Letter and

23   Exhibits 1, 2, 3, and 4 to be conditionally filed under seal.

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       Pursuant to Civil Local Rule 79-5(f)(5), this Administrative Motion addresses only portions of
25   the Joint Letter Brief and Exhibits as to which Plaintiffs bear the burden to demonstrate the
     propriety of sealing. Concurrently herewith, Defendants have filed an Administrative Motion to
26   File Under Seal, which addresses portions of the Joint Letter Brief and Exhibits as to which
     Defendants bear the burden to demonstrate the propriety of sealing.
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         DEFENDANTS’ ADMINISTRATIVE MOTION               1                       Case No. 4:19-cv-07123-PJH
         TO CONSIDER WHETHER ANOTHER
         PARTY’S MATERIAL SHOULD BE SEALED
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 1   DATED: September 20, 2024                  KING & SPALDING LLP
 2

 3                                              By: /s/ Aaron S. Craig
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 5
                                                   Attorneys for Defendants NSO GROUP
 6                                                 TECHNOLOGIES LIMITED and Q
                                                   CYBER TECHNOLOGIES LIMITED
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28    DEFENDANTS’ ADMINISTRATIVE            2                      Case No. 4:19-cv-07123-PJH
      MOTION TO CONSIDER WHETHER
      ANOTHER PARTY’S MATERIAL SHOULD
      BE SEALED
